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                        IN THE UNITED STATES COURT OF
                        APPEALS FOR THE THIRD CIRCUIT


Carlton Landis

                        Plaintiff-Appellant,

                   v.                                        No. 22-2421

Moyer, et al.

                        Defendants-Appellees.




                UNOPPOSED MOTION TO REINSTATE APPEAL

      Appellant respectfully requests that the appeal in this case be reinstated. In as

much as the certified order functioned as the mandate, Appellant also requests that

the mandate be recalled for purposes of reinstating the appeal.

      1.      Carlton Landis proceeded pro se before the district court in seeking a

remedy for alleged constitutional violations that occurred while incarcerated.

      2.      Undersigned counsel and Mr. Landis agreed that undersigned counsel

would represent Mr. Landis before this Court pro bono as he otherwise could not

obtain counsel.

      3.      On September 19, 2022, this Court ordered Mr. Landis, still operating



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pro se, to submit 5 pages of argument on why this case should not be summarily

dismissed.

      4.       Undersigned counsel received confirmation that Mr. Landis wanted his

representation, entered an appearance, and filed this five pages of argument.

      5.       On February 22, 2023, this Court ordered full briefing.

      6.       Undersigned counsel miscalendared the briefing due date in response

to the briefing notice. He works for a small non-profit organization that does not

have paralegals or administrative legal staff. He is mortified by his error and

apologizes to the Court.

      7.       On April 20, 2023, still not having received an opening brief because

of undersigned counsel’s error, this Court dismissed the appeal for want of

prosecution.

      8.       Undersigned counsel apologizes for his mistake and respectfully

requests this appeal be reinstated so that he may continue his pro bono representation

of Mr. Landis, an incarcerated pro se litigant, in pursuit of a remedy for alleged

constitutional violations.

      9.       Undersigned counsel will comply with any briefing deadline this Court

sets and not seek any extensions.

      10.      Undersigned counsel contacted Appellees’ counsel who graciously

consent to this motion.



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                                 CONCLUSION

      For the foregoing reasons, Appellant respectfully requests that the appeal in

this case be reinstated.

                                      Respectfully submitted,

                                      /s/ Samuel Weiss
                                      Samuel Weiss
                                      Rights Behind Bars
                                      416 Florida Avenue NW, #26152
                                      Washington, DC 20001




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                        CERTIFICATE OF SERVICE

      I hereby certify that on April 27, 2023, I electronically filed the foregoing

Unopposed Motion for Reinstatement of Appeal with the Clerk of the Court for the

United States Court of Appeals for the Third Circuit by using the appellate CM/ECF

system. Participants in the case who are registered CM/ECF users will be served by

the appellate CM/ECF system.


Date: April 27, 2023


                                      /s/ Samuel Weiss
                                      Samuel Weiss

                                      Rights Behind Bars
                                      416 Florida Avenue NW, #26152
                                      Washington, DC 20001
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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that this motion complies with the type-volume requirements

of Rule 27(d)(2)(A) and Rule 32(g). This motion contains 296 words.

Date: April 27, 2023


                                     /s/ Samuel Weiss
                                     Samuel Weiss

                                     Rights Behind Bars
                                     416 Florida Avenue NW, #26152
                                     Washington, DC 20001
